Case 2:20-cv-06979-FMO-AS Document 125-6 Filed 02/22/21 Page 1 of 4 Page ID #:2339




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                                       U N I T E D S TAT E S D I S T R I C T C O U R T

                                   CENTRAL DISTRICT OF CALIFORNIA

          D E N I E C E WA I D H O F E R , a n                 Case No. 2:20-cv-06979
          individual; MARGARET MCGEHEE,
          an individual; and RYUU LAVITZ,                      D E C L A R AT I O N O F J A R E D
          LLC, a Massachusetts limited liability               GOODMAN IN SUPPORT OF
          company;                                             D E F E N D A N T M U LT I M E D I A ,
                                                               LLC'S PORTION OF JOINT
                         Plaintiffs,                           S T I P U L AT I O N R E G A R D I N G
                                                               DISCOVERY TO DEFENDANT
                                                               M U LT I M E D I A , L L C

          CLOUDFLARE, INC., a Delaware
          corporation; BANGBROS.COM, INC.,
          a Florida corporation; SONESTA                        Filed concurrently with Joint Stipulation
          TECHNOLOGIES, INC., a Florida                        Regarding Plaintiffs' Discovery Requests
          corporation; MULTI MEDIA LLC, a                      to Defendant Multi Media, LLC]
          CaFifornia limited liability company;
          CRAKMEDIA INC., a Canadian                           Judge: Hon. Alka Sagar
          corporation; and JOHN DOES 1-21, as-
          yet unidentified individuals,




                                                                                                    Case No. 2:20-cv-06979

                                                                             D E C L A R AT I O N   OF   JARED   GOODMAN
Case 2:20-cv-06979-FMO-AS Document 125-6 Filed 02/22/21 Page 2 of 4 Page ID #:2340




        1             D E C L A R AT I O N      OF     JARED   GOODMAN

        2 I, Jared Goodman, hereby declare and state as follows:
        3 1. I am currently employed as a Senior Accounting Executive for Multi
        4 Media, LLC ("Multi Media"). I make this declaration of my own personal knowledge
        5 and, if called to testify, I could and would competently testify hereto under oath. 1
        6 submit this declaration in support of Multi Media's portion of the Joint Stipulation
        7 Regarding Discovery to Defendant Multi Media, LLC.
        8 2. Multi Media runs one of most popular adult-entertainment sites in the
        9 world with millions of users across the globe.
       10 3. Information electronically stored by Multi Media includes membership
       11 profiles for customers and performers on Multi Media's platform that contain many
       12 categories of highly private and personal information such as: legal name, personal
       13 email accounts, home addresses, credit card information, copies of identification
       14 cards and passports, bank account information, IP addresses, and social security
       15 numbers. Most individual customers and performers who use Multi Media services
       16 use pseudonyms as their public usernames to prevent sharing their real names publicly
       17 and otherwise protect their privacy.
       18 4. In evaluating Plaintiff Deniece Waidhofer's First Set of Requests for
       19 Production, Multi Media conducted a preliminary search for records responsive to her
       20 requests.

       21 5. The search concerned two sets of potential terms: the names of
       22 individuals specifically identified by Plaintiff Deniece Waidhofer and a list of
       23 pseudonyms Plaintiffs have allegedly identified in their First Amended Complaint.
       24 6. The list of individual names included the following:

       25 • Benjamin "Jelle" Samaey;
       26    •          Michael              Hughes;
       27     •          Linus         Malmberg;
       28         •        Andrew            Rubio;

                                                                                      Case No. 2:20-cv-06979

                                                                 D E C L A R AT I O N O F J A R E D G O O D M A N
Case 2:20-cv-06979-FMO-AS Document 125-6 Filed 02/22/21 Page 3 of 4 Page ID #:2341




                       • Francisco Dias (or Diaz);

                       • Vincent Gariepy;

                        • F r a n Te c h S o l u t i o n s

        4 7. The search of these names returned at least 167 user profiles. Upon initial
        5 review, there is no additional information in these records that identifies that these

           records are associated with Thothub.

                 8. The list of pseudonyms searched included the following:
                       • Captain Thotcakes
                       •       Te l l e r

                                GOD

                       •     Ironman891

                       •      Merchant

                       • Cityzen7

                       •      Va s s a r

                       •       Azrael

                       •      Ewoklove

                       •     RealAccount

                                Nick7712

                        •      Swix

                        •    Nudeleaks

                        •      Ta l l i e

                       • Bigsausagestromboli
                        • To n y S t a r k 4 2 0

                       • Thighdeologist

                       • El Drago

                        • De_sercier

                                SWEDISH CHEF

                       •    FatherofSlain


                                                             _2_   Case       No.          2:20-cv-06979
                                                                      D E C L A R AT I O N O F J A R E D G O O D M A N
Case 2:20-cv-06979-FMO-AS Document 125-6 Filed 02/22/21 Page 4 of 4 Page ID #:2342




               9. The preliminary search for these pseudonyms showed that the term
          "God" appears in 162,311 documents, the term "Merchant" appears in 101,495

          documents, and the term "RealAccount" appears in 5,024 documents.
               I declare under penalty of perjury under the laws of the United States of
         America that the foregoing is true and correct. .
               Executed on this 18th day of February, 2021, ayjkiami, Flory^.



                                                 Ta r e d G o o d m a n




                                                                                         Case No. 2:20-cv-06979
                                                                    D E C L A R AT I O N O F J A R E D G O O D M A N
